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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                   TEXARKANA DIVISION

 DAVID J. POTTER, II, ET UX                       §
      Plaintiffs,                                 §
                                                  §
 v.                                               § CIVIL ACTION NO: 5:23-cv-00098-RWS-JBB
                                                  §
 CRESTBROOK INSURANCE                             §
 COMPANY                                          §
      Defendant.                                  §

 DEFENDANT CRESTBROOK INSURANCE COMPANY’S ORIGINAL ANSWER AND
        DEFENSES TO PLAINTIFFS’ FIRST AMENDED COMPLAINT

           Defendant Crestbrook Insurance Company (“Crestbrook” or “Defendant”), files this

 Original Answer and Defenses to Plaintiffs David J. Potter, II, ET UX’s (“Plaintiffs”) First

 Amended Complaint, and would respectfully show as follows:

      I.        DEFENDANT CRESTBROOK INSURANCE COMPANY’S ORIGINAL
                 ANSWER TO PLAINTIFFS’ FIRST AMENDED COMPLAINT

           Crestbrook makes the following admissions and denials to Plaintiffs’ claims as authorized

 by Federal Rule of Civil Procedure 8(b):

                                              I. PARTIES

           1.    Upon information and belief, Crestbrook admits that Plaintiffs are individuals

 residing and domiciled in Bowie County, Texas.

           2.     Crestbrook admits that it is an Ohio corporation with its principal place of business

 in Ohio, and that it is lawfully engaged in the business of insurance in Texas. Crestbrook further

 admits that its counsel agreed to accept service of this lawsuit on behalf of Crestbrook and agreed

 to answer Plaintiffs’ First Amended Complaint within 21 days of its filing. Crestbrook admits that

 it issued an insurance policy bearing policy number HO00054188-08 to Plaintiffs for the policy
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 period of February 3, 2023, to February 3, 2024 (the “Policy”). Crestbrook admits that Plaintiffs

 are both named insureds under the Policy.

                                 II. FEDERAL JURISDICTION

        3.      Crestbrook admits that the United States District Court for the Eastern District of

 Texas, Texarkana Division, has jurisdiction over this case. Crestbrook denies that Plaintiffs are

 entitled to the relief identified in Paragraph 3 of Plaintiffs’ First Amended Complaint.

        4.     Crestbrook admits that venue is proper in the United States District Court for the

 Eastern District of Texas, Texarkana Division. Upon information and belief, Crestbrook admits

 that Plaintiffs reside Bowie County, Texas. Crestbrook admits that Plaintiffs are named insureds

 under the Policy, and that the Policy provides insurance coverage for the real property located at

 2 Forrest Brook Ln, Texarkana, TX 75503 (the “Property”), subject to the Policy’s conditions,

 limitations, and exclusions. Crestbrook otherwise denies the allegations set forth in Paragraph 4 of

 Plaintiffs’ First Amended Complaint.

                                        III. JURY DEMAND

        5. Paragraph 5 of Plaintiffs’ First Amended Complaint is Plaintiffs’ jury demand and does

 not require a response from Crestbrook.

                 IV. BACKGROUND STATEMENT OF RELEVANT FACTS

        6.      Crestbrook admits that it issued an insurance policy bearing policy number

 HO00054188-08 to Plaintiffs for the policy period of February 3, 2023, to February 3, 2024.

 Crestbrook admits that Plaintiffs are both named insureds under the Policy. Crestbrook further

 admits that Plaintiffs submitted a claim for alleged water damage to the Property. Crestbrook

 admits that it assigned number CLM-00136170 to Plaintiffs’ claim for alleged water damage to

 the Property (the “Claim”).



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        7.      Crestbrook lacks sufficient information to admit or deny the sequence of events

 alleged in Paragraph 7 of Plaintiff’s First Amended Complaint. Crestbrook otherwise denies the

 allegations set forth in Paragraph 7 of Plaintiffs’ First Amended Complaint.

        8.      Crestbrook lacks sufficient knowledge to admit or deny the allegations in Paragraph

 8 of Plaintiffs’ First Amended Complaint concerning David J. Potter II’s conclusions. Crestbrook

 admits that leaks in shower pans at the Property likely contributed to mold growth and other water

 damage.

        9.      Crestbrook admits that Plaintiffs submitted the Claim for alleged water damage to

 the Property on or about July 20, 2023. Crestbrook denies the remaining allegations set forth in

 Paragraph 9 of Plaintiffs’ First Amended Complaint.

        10.     Crestbrook admits that Field Claims Specialist III Jennifer Cuevas (“Cuevas”)

 coordinated with Plaintiffs to schedule an inspection of the Property to investigate the Claim.

 Crestbrook further admits that it engaged Herndon/McFarland Inc., based in Addison, Texas, and

 ServiceMaster, based in Nash, Texas, to conduct an inspection of the Property. Crestbrook denies

 the remaining allegations set forth in Paragraph 10 of Plaintiffs’ First Amended Complaint.

        11.     Crestbrook admits that Cuevas sent Plaintiff David J. Potter II the July 27, 2023,

 email referenced in Paragraph 11 of Plaintiffs’ First Amended Complaint. Crestbrook admits that

 professional engineer Omid Khandel, PhD, of Nederveld, Inc. (“Nederveld”) inspected the

 Property with Cuevas on July 27, 2023. Crestbrook admits the resulting report Nederveld report is

 dated September 7, 2023 (the “Nederveld Report”). Crestbrook admits the Nederveld Report

 speaks for itself. Crestbrook denies the remaining allegations set forth in Paragraph 13 of

 Plaintiffs’ First Amended Complaint.




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        12.     Crestbrook admits Plaintiff David J. Potter II requested a copy of the Nederveld

 Report via email on September 11, 2023. Crestbrook denies the remaining allegations set forth in

 Paragraph 12 of Plaintiffs’ First Amended Complaint.

        13.     Crestbrook admits the allegations set forth in Paragraph 13 Plaintiffs’ First

 Amended Complaint.

        14.     Crestbrook admits the allegations set forth in Paragraph 14 Plaintiffs’ First

 Amended Complaint.

        15.     Crestbrook admits that it denied coverage for Plaintiffs’ Claim because Plaintiffs’

 claimed damages were not covered under the Policy. Crestbrook admits it issued Plaintiffs

 correspondence dated September 25, 2023, in which Crestbrook thoroughly explained the basis of

 its coverage denial. Crestbrook denies the remaining allegations set forth in Paragraph 15 of

 Plaintiffs’ First Amended Complaint.

                    CAUSES OF ACTION #1 BREACH OF CONTRACT

        16.     Paragraph 16 of Plaintiffs’ First Amended Complaint contains a reference to the

 foregoing paragraphs for incorporation by reference and does not require a response by

 Crestbrook. To the extent that a response is required, Crestbrook reasserts its admissions and

 denials set forth in the foregoing paragraphs of this Original Answer.

        17.     Paragraph 17 of Plaintiffs’ First Amended Complaint states legal conclusions that

 do not require a response from Crestbrook. Crestbrook otherwise denies the allegations set forth

 in Paragraph 17 of Plaintiffs’ First Amended Complaint. Crestbrook further denies that Plaintiffs

 are entitled to the relief sought in Paragraph 17 of Plaintiffs’ First Amended Complaint.

                     CAUSE OF ACTION COUNTY #2: VIOLATION OF
                            THE TEXAS INSURANCE CODE




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        18.    Paragraph 18 of Plaintiffs’ First Amended Complaint states legal conclusions that

 do not require a response from Crestbrook. Crestbrook otherwise denies the allegations set forth

 in Paragraph 18 of Plaintiffs’ First Amended Complaint.

        19.    Paragraph 19 of Plaintiffs’ First Amended Complaint states legal conclusions that

 do not require a response from Crestbrook. Crestbrook otherwise denies the allegations set forth

 in Paragraph 19 of Plaintiffs’ First Amended Complaint.

        20.    Paragraph 20 of Plaintiffs’ First Amended Complaint states legal conclusions that

 do not require a response from Crestbrook. Crestbrook otherwise denies the allegations set forth

 in Paragraph 20 of Plaintiffs’ First Amended Complaint.

        20.    The second Paragraph 20 of Plaintiffs’ First Amended Complaint states legal

 conclusions that do not require a response from Crestbrook. Crestbrook otherwise denies the

 allegations set forth in the second Paragraph 20 of Plaintiffs’ First Amended Complaint.

        21.    Paragraph 21 of Plaintiffs’ First Amended Complaint states legal conclusions that

 do not require a response from Crestbrook. Crestbrook otherwise denies the allegations set forth

 in Paragraph 21 of Plaintiffs’ First Amended Complaint.

        22.    Paragraph 22 of Plaintiffs’ First Amended Complaint states legal conclusions that

 do not require a response from Crestbrook. Crestbrook otherwise denies the allegations set forth

 in Paragraph 22 of Plaintiffs’ First Amended Complaint.

        23.    Paragraph 23 of Plaintiffs’ First Amended Complaint states legal conclusions that

 do not require a response from Crestbrook. Crestbrook otherwise denies the allegations set forth

 in Paragraph 23 of Plaintiffs’ First Amended Complaint.




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        24.     Paragraph 24 of Plaintiffs’ First Amended Complaint states legal conclusions that

 do not require a response from Crestbrook. Crestbrook otherwise denies the allegations set forth

 in Paragraph 24 of Plaintiffs’ First Amended Complaint.

        25.     Paragraph 25 of Plaintiffs’ First Amended Complaint states legal conclusions that

 do not require a response from Crestbrook. To the extent Plaintiffs assert or suggest that the legal

 theories stated in Paragraph 25 of Plaintiffs’ First Amended Complaint apply to Crestbrook,

 Crestbrook denies the allegations set forth in Paragraph 25 of Plaintiffs’ First Amended Complaint.

                   CAUSE OF ACTION #3: VIOLATION OF THE
           TEXAS DECEPTIVE PRACTICES CONSUMER PROTECTION ACT

        26.     Paragraph 26 of Plaintiffs’ First Amended Complaint states legal conclusions that

 do not require a response from Crestbrook. Crestbrook otherwise denies the allegations set forth

 in Paragraph 26 of Plaintiffs’ First Amended Complaint. Crestbrook further denies that Plaintiffs

 are entitled to the damages and relief sought in Paragraph 26 of Plaintiffs’ First Amended

 Complaint.

        27.     Crestbrook denies the allegations set forth in Paragraph 27 of Plaintiffs’ First

 Amended Complaint.

        28.     Paragraph 28 of Plaintiffs’ First Amended Complaint states legal conclusions that

 do not require a response from Crestbrook. Crestbrook otherwise denies the allegations set forth

 in Paragraph 28 of Plaintiffs’ First Amended Complaint.

        29.     Crestbrook denies the allegations set forth in Paragraph 29 of Plaintiffs’ First

 Amended Complaint. Crestbrook further denies that Plaintiffs are entitled to the damages and relief

 sought in Paragraph 29 of Plaintiffs’ First Amended Complaint.

              CLAIM FOR ATTORNEY FEES FOR BREACH OF CONTRACT,
              VIOLATION OF THE TEXAS PROMPT PAYMENT ACT OF THE



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                         INSURANCE CODE AND THE TEXAS DTPA

        30.     Crestbrook admits Plaintiffs are represented by Plaintiff David J. Potter, II in this

 lawsuit. Crestbrook denies the remaining allegations set forth in Paragraph 30 of Plaintiffs’ First

 Amended Complaint. Crestbook further denies that Plaintiffs are entitled to the relief sought in

 Paragraph 30 of Plaintiffs’ First Amended Complaint.

        31.     Crestbrook denies the allegations set forth in the Prayer section of Plaintiffs’ First

 Amended Complaint. Crestbrook further denies that Plaintiffs are entitled to any of the damages

 or relief sought in the Prayer section of Plaintiffs’ First Amended Complaint.

 II.    DEFENDANT NATIONWIDE MUTUAL INSURANCE COMPANY’S DEFENSES

                                            First Defense
                                           Policy Provisions

        32.     Plaintiffs cannot recover, in whole or in part, on their breach of contract claim, and

 consequently on any of the other causes of action alleged in their First Amended Complaint,

 because the Policy contains conditions, limitations, and exclusions negating coverage, in whole or

 in part, for the damages alleged by Plaintiffs. Nationwide’s contractual obligations are determined

 by the terms, conditions, limitations, and exclusions contained in the Policy. Nationwide relies on

 such terms, conditions, limitations, and exclusions in defense of the claims asserted against it.

 Potentially applicable policy provisions include, but are not limited to:

                                               Your Amended Policy Declaration
                                               Personal Home Policy
                                               Policy Number: HO00054188-08
                                               Policy Period: 02/03/2023 to 02/03/2024
                                               Amendment Effective: 05/11/2023
                                               Date Prepared: 05/11/2023
 Policyholder (Named Insured)
 David Potter and Aria Potter
 2 Forrest Brook Ln
 Texarkana, TX 75503-1134                      ***



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 Mortgagee
 PNC Bank, National Association ISAOA/ATIMA
 PO BOX 7433
 Springfield, OH 45501-7433
 Number: 1001004129

 General Policy Information
 Issued: 05/11/2023
 These Declarations are part of the policy named above and identified by the policy number above.
 They supersede any Declarations issued earlier. Your Policy will provide the insurance described
 in this policy in return for the premium and compliance with all applicable policy provisions. See
 policy for details regarding other coverages and additional coverage options.

 Policy Period From 02/03/2023 To 02/03/2024 but only if the required premium for this period
 has been paid and only for annual renewal periods if premiums are paid as required.

 Residence Premises:
 2 Forrest Brook Ln
 Texarkana, TX 75503-1134

                            ******* Important Information *******

 If you have not provided us with advance notice of removal of personal property necessary to
 sustain normal living prior to a loss covered by this policy, a special Vacancy Deductible may
 apply. This Vacancy Deductible, as described in your Personal Home policy, is $93,852 (5% of
 your Coverage A – Dwelling limit of liability), or the increased Coverage A limit if an extended
 replacement cost loss settlement applies at the time of a covered loss. In the event of a loss, the
 greater of this percentage Vacancy Deductible, the Section I Policy Deductible or any Deductible
 applicable to the cause of loss will apply.

 If you have not provided us with notice of construction or renovation of your Residence Premises
 for which we have provided written approval prior to a loss covered by this Personal Home policy,
 a special Construction Deductible may apply. This Construction Deductible, as described in your
 Personal Home policy, is $93,852 (5% of your Coverage A – Dwelling limit of liability), or the
 increased Coverage A limit if an extended replacement cost loss settlement applies at the time of
 a covered loss. In the event of a loss, the greater of this percentage Construction Deductible,
 Section I Policy Deductible or any Deductible applicable to the cause of loss will apply.

                                                ***

 Section I                                    Deductible: $5,000             All Peril
                                                          $18,770 (1%)       Wind/Hail

 Property Coverages                                   Limits Of Liability




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 Coverage A - Dwelling                                   $413,112
 Coverage B – Other Structures                           $41,311
 Coverage C - Personal Property                          $309,834
 Coverage D – Loss of Use                                Actual Loss Sustained
                                                ***
 Exclusions

 Texas Asbestos, Silica, Lead and Total Pollution Exclusion

 Other Coverages / Options / Endorsements Applicable

                                                      Coverage Limits
                                                      ***
  Biological Deterioration Clean Up                            $10,000
  Back Up or Overflow of Sewers or Drains                      $5,000 Deductible
  Extended Dwelling Replacement Cost                           Included
  ***
  Ordinance of Law                                             100% of Coverage A
  ***


 “Deductible amounts subject to change due to Inflation – See Inflation Protection Coverage Page
 9, Number 8 in your Personal Homeowner Policy”

                                           ***
                                  PERSONAL HOME POLICY
 Insuring Agreement
 We will provide the insurance described in this policy, which includes the Declarations and
 attached endorsements or schedules, in return for the premium and fees, and compliance with all
 applicable provisions of this policy.
                                                ***
 Definitions
 Certain words and phrases used in this policy are defined as follows:
 1. “We”, “us” and “our” refer to the company shown on the Declarations as the issuing
 company.
 2. “You” and “Your” (modified by endorsement)
                                             ***
 4. “Insured” (modified by endorsement)
                                             ***
 5. “Insured Location” means:



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        a. the Residence Premises.
 ***
 11. “Actual Cash Value” means:
 a. In the case of a total loss to buildings covered under Coverage A. or B., the policy limit or fair
 market value of the building, whichever is less; or
 b. In the case of a partial loss to buildings covered under Coverage A. or B., or loss to other covered
 property, the amount it would cost to repair or replace covered property with material of like kind
 and quality, whichever is less, minus a reasonable deduction for physical deterioration and
 depreciation, including obsolescence based upon its condition at the time of loss or the policy limit,
 whichever is less.

 In the case of a partial loss to buildings under Coverage A. or B., the deduction for physical
 deterioration shall apply only to components of the building that are normally subject to repair and
 replacement during the useful life of that building.

 12. “Foundation” means a building’s substructure including substructural walls, including but
 not limited to basement walls and crawl space walls.

 13. “Biological Deterioration or Damage” means damage or decomposition, breakdown, and/or
 decay of manmade or natural material due to the presence of fungi, algae, lichens, slime, mold,
 bacteria, wet or dry rot, and any by-products of these organisms, however produced. Fungi as used
 above include, but are not limited to: yeasts, mold, mildew, rust, smuts, or fleshy fungi such as
 mushrooms, puffballs and coral fungi.

                                                  ***
 Section I – Property Coverages
 Coverage Agreements
 We cover all risk of accidental direct physical loss to property described in Coverages A., B. and
 C. below except for losses excluded under Section I – Property Exclusions.

 COVERAGE A—DWELLING
     We cover:
     1. the dwelling on the Residence Premises used mainly as your private residence
        including attached structures.
     2. materials or supplies on or adjacent to the Residence Premises for use in construction,
        alteration or repair of:
             a. the dwelling; or
             b. Coverage B—Other Structures.
     We do not cover land, including land on which the dwelling is located, or the replacement,
     rebuilding, restoration, stabilization or value of such land, except to the extent provided in
     Section I—Additional Property Coverages, Land.
                                               ***
 COVERAGE C—PERSONAL PROPERTY
     We cover personal property owned or used by an Insured while it is anywhere in the world.
     At your request, we will cover personal property owned by others. It must be on the part



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        of the Residence Premises occupied by an Insured. This extension of coverage does not
        increase the limit of liability.

        Our limit of liability for personal property normally located at an Insured’s residence
        other than the Residence Premises is ten percent (10%) of the highest limit of liability for
        Coverage C applicable under this or any other policy issued by us or an affiliate company
        which provides coverage for your personal property. No coverage under this provision is
        afforded to the perils of Wind or Earthquake. This ten percent (10%) limitation does not
        apply to personal property:
                1. removed from the Residence Premises because:
                    a. of a covered loss; or
                    b. the Residence Premises is being repaired, renovated or rebuilt and it cannot
                        be lived in or the property cannot be stored in it; or
                2. in transit to and from, or while in a newly acquired principal residence for sixty
                    (60) days. The sixty (60) days start right after you begin to move the property.
                                                  ***
 COVERAGE D – LOSS OF USE (modified by endorsement)
                                                  ***
 Additional Property Coverages
        1. Debris Removal.
        a.      We will pay reasonable expense you incur removing debris of:
        (1)     covered property, if the peril causing the loss is covered; or
                                                      ***
        This coverage is additional insurance.
        2. Reasonable Repairs. We will pay reasonable cost you incur for necessary repairs made
        solely to protect covered property from further damage, if the peril causing the loss is
        covered. Actions taken to repair other damaged property will be covered only if the other
        property is also covered under the policy and that other property was damaged by a covered
        cause of loss. These expenses are included in the limit of liability applying to the damaged
        property.
                                                      ***
        10. Biological Deterioration or Damage Clean Up and Removal. In the event that a
        covered cause of loss results in Biological Deterioration or Damage to property covered
        under Coverages A., B., and C., we will pay, up to the amount shown on the Declarations,
        for:
        a.      the cost to clean up, remove and dispose of the Biological Deterioration or
                Damage to covered property;
        b.      the cost to tear out and replace any part of the building or other covered property
                needed to gain access to the Biological Deterioration or Damage;
        c.      the cost of testing which is performed in the course of clean up and removal of the
                Biological Deterioration or Damage from the Residence Premises; and
        d       additional living expenses you may incur, as outlined under Coverage D., that
                results from items a., b. or c. above.
        The coverage amount shown on the Declarations for this Additional Property Coverage is
        the most we will pay for all loss or costs payable under this Additional Coverage. Such



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        costs are payable only if you report the Biological Deterioration or Damage to us within
        one hundred eighty (180) days of having first discovered the Biological Deterioration or
        Damage.
        The covered cause of loss that causes or results in Biological Deterioration or Damage
        to covered property must have occurred during the policy period.
        This is an additional amount of coverage.
                                                    ***
        14. Ordinance or Law. If a covered peril causes a loss to property covered under Coverage
        A – Dwelling and Coverage B – Other Structures, settlement will be based on enforcement
        of any ordinance or law regulating the:
        a.      Construction;
        b.      Repair;
        c.      Renovation;
        d.      Remodeling; or
        e.      Demolition of the damaged building or other structure.
        The damaged or destroyed building structure must be repaired or replaced at the Residence
        Premises. (modified by endorsement)

        Special Exclusions
        We will not pay costs:
        a. required to replace, repair, regrade, remove, stabilize, change the contour of, or otherwise
        alter land, unless under or immediately surrounding the damaged building structure;
                                                       ***
        c. resulting from the enforcement of any ordinance or law involving construction, repair,
        remodeling or demolition of that portion of the undamaged building structure.
        However, exclusion c. does not apply:
                 (1) when it is necessary to remodel, remove or replace a portion of the undamaged
                 building structure in order to complete repairs, replacement or remodeling of the
                 damaged portion of the covered building structure; or
                 (2) if the total damage to the covered building structure is more than fifty percent
                 (50%) of the building’s Replacement Cost, less any ordinance or law expenses, at
                 the time of the loss.
        d. resulting in diminution in value of Residence Premises.
                                                   ***
 Property Exclusions
 (Section I)
    1. (modified by endorsement)
        ***
             b. Water or damage caused by water-borne material. Loss resulting from water or
                 water-borne material damage described below is not covered. Water and water-
                 borne material damage means:
                        (1) Flood, surface water, waves, tidal water, overflow of water from a body
                            of water or water borne material from any of these;




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                   (2) run off of water or water-borne material from a paved surface, driveway,
                       walkway, patio, or other similar surface; or spray from any of these, even
                       if driven by wind.
                   (3) water or water-borne material below the surface of the ground, including
                       water or water-borne material which exerts pressure on, seeps or leaks
                       through a building, sidewalk, driveway, Foundation, swimming pool or
                       other structure.
       ***
          c. Neglect, meaning neglect of the Insured to use all reasonable means to save and
             preserve property at the time of and after a loss, or when property is endangered by
             a covered peril.
       ***
          f. Increased Hazard, meaning any loss occurring while hazard is increased by a means
          within the control and knowledge of an Insured.
          ***
          k. Biological Deterioration or Damage, except as provided by Section I—Additional
          Property Coverages—Bio logical Deterioration or Damage Clean Up and Removal.
          ***
          m. Diminution in value or depreciation.
          ***
          p. A fault, weakness, defect or inadequacy in the:
              (1) specifications, planning, zoning;
              (2) design, workmanship, construction, materials;
              (3) surveying, grading, backfilling;
              (4) development or maintenance;
              of any property on or off the Residence Premises, whether intended or not.
              However, any resulting loss is covered unless another exclusion applies.
          ***
          r. Weather, Temperature or Dampness. (modified by endorsement)
          ***
          u. continuous or repeated seepage or leakage of water or steam over a period of weeks,
              months or years from a:
              (1) heating, air conditioning or automatic protective sprinkler system;
              (2) household appliance;
              (3) plumbing system; or
              (4) water, steam or sewer pipes, or storm drains located off the Residence
              Premises.
              A plumbing system or household appliance does not include a sump pump, sump
              pump well or other system designed to remove subsurface water drained form the
              Foundation area.
              However, any resulting loss is covered unless another exclusion applies. If loss
              caused by water or steam is not otherwise excluded, we will cover the cost of tearing
              out and replacing any part of the building necessary to repair or replace the system
              or appliance. We do not cover loss to the system or appliance from which the water
              or steam escaped.



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             ***
             z. Gradual or Sudden Loss due to:
                 (1) wear and tear, marring, deterioration;
                 (2) inherent vice, latent defect, mechanical breakdown;
                 (3) smog, rust;
                 (4) smoke from agricultural smudging or industrial operations;
                 (5) settling, cracking, shrinking, bulging or expansion or pavements, patios,
                 Foundations, walls, floors, roofs or ceilings;
                 (6) root growth, movement or action;
                 If any of items 1.z.(1) through (6) cause water to escape from a plumbing, heating,
                 air conditioning or fire protective sprinkler system or household appliance, we
                 cover loss caused by the water not otherwise excluded. We also cover the cost of
                 tearing out and replacing any part of a building necessary to repair the system or
                 appliance. We do not cover loss to the system or appliance from which the water
                 escaped.
        aa.      Ordinance Or Law
                 Ordinance Or Law means any ordinance or law:
                 (1) Requiring or regulating the construction, demolition, remodeling, renovation or
                     repair of property, including removal of any resulting debris. This Exclusion
                     does not apply to the coverage that may be provided for in Ordinance Or Law
                     under Section I—Additional Property Coverages;
                 (2) The requirements of which result in a loss in value to property; or
                 (3) Requiring any Insured or others to test for, monitor, clean up, remove, contain,
                     treat, detoxify or neutralize, or in any way respond to, or assess the effects of
                     contamination or pollution.
    2. We do not cover loss to property described in Coverage C. resulting directly from any of
        the following:
             a. dampness or extremes of temperatures unless the direct cause of loss is rain, snow,
                 sleet or hail.
                                                   ***
 Property Conditions
 (Section I)
    1. Insurable Interest and Limit of Liability. Even if more than one person has an insurable
        interest in the property covered, we will not be liable:
             a. to the Insured for more than the Insured’s interest.
             b. For more than the limit of liability.

    2. Deductible. (modified by endorsement)
    ***
    3. Your Duties after Loss. (modified by endorsement)

    4. Loss Settlement. Covered losses will be settled, up to the applicable limit of liability, by
       us paying:
           a. Under Coverage C – Personal Property, Replacement Cost of the full cost to repair,
              at the time of loss, without deduction for depreciation.



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              “Replacement Cost” means the cost, at the time of loss, of a new article identical
              to the one damaged or stolen. When a new article is no longer available,
              Replacement Cost shall mean the cost of a new article similar to that damaged or
              stolen. It must be of comparable quality and usefulness.

              Our limit of liability for loss shall be the lesser of:
              (1) Replacement cost at the time of loss;
              (2) full cost of repair;
              (3) any special limits of liability described in this policy or attached by
                  endorsement; or
              (4) our cost to repair or replace any pair of the damaged or stolen property with
                  equivalent property.
           ***
           This coverage does not apply to:
           ***
           (3) Property not maintained in good or workable order.
           (4) Property which is obsolete or useless to you at the time of loss.

           b. Covered losses to your property under Coverage A – Dwelling will be settled as
           follows:
           We will pay the cost of repair or replacement, without deduction for depreciation and
           without regard to the limit of liability shown on the Declarations.
           ***
           You agree to:
           (1) Insure your Dwelling to at least one hundred percent (100%) of its Replacement
           Cost as determined by our Replacement Cost estimation or an inspection performed
           by a recognized appraisal agency authorized by us;
           ; or, for no greater cost, buy or build a Dwelling at another location. If you choose not
           to repair or replace, we will only pay you the cost to repair or rebuild the damaged
           Dwelling at the same premises prior to the loss, or the applicable limits of insurance
           shown on the Declarations, whichever is less;
           (2) Repair or replace the Dwelling with materials of like kind and quality on the
           Residence Premises; or, for no greater cost, buy or build a Dwelling at another
           location. If you choose not to repair or replace, we will only pay you the cost to repair
           or rebuild the damaged Dwelling at the same premises prior to the loss, or the applicable
           limits of insurance shown on the Declarations, whichever is less;
           ***
           c. Under Coverage B – Other Structures, we will pay up to the applicable limit
           shown on the Declarations the cost to repair or replace without deduction for
           depreciation based on equivalent construction and use on the same premises even if
           you choose not to repair or replace.
       ***
    5. Loss Payment. We will pay all losses as outlined in the above Loss Settlement Condition
       4. subject to the following:
           a. In case of loss to a pair or set, we may elect to:



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              (1) repair or replace a part to restore the pair or set to its value before the loss;
              (2) pay our cost to replace the set;
              (3) pay the difference between market value of the property before and after the
                  loss; or
              (4) pay full Replacement Cost of the pair or set provided you give us the
                  remaining parts.
              ***
           c. (modified by endorsement)
              ***
           f. (modified by endorsement)
       ***
    6. Appraisal. If you and we fail to agree on the amount of loss, either can request that the
       amount be set by appraisal. If either makes a written request for appraisal, each will select
       a competent independent appraiser and notify the other of the appraiser’s identity within
       twenty (20) days of receipt of the written request. The two appraisers will then select a
       competent, impartial umpire. If the two appraisers cannot agree on an umpire within fifteen
       (15) days, you or we can ask a judge or court of record in the state where the Residence
       Premises is located to select a competent, impartial umpire.

       The appraisers will then set the amount of loss. If the appraisers submit a written report of
       an agreement to us, the amount agreed upon will be the amount of loss. If the appraisers
       fail to agree within a reasonable time, they will submit their differences to the umpire.
       Written agreement signed by any two of these three will set the amount of the loss. Each
       appraiser will be paid by the party selecting that appraiser. Other expenses of the appraisal
       and the compensation of the umpire will be paid equally by you and us. Any fees for expert
       witnesses or attorneys will be paid by the party who hires them. Neither the umpire nor the
       appraisers will have a financial interest that is conditioned on the outcome of the specific
       matter for which they are called to serve. This is not a provision providing for or requiring
       arbitration.

       The appraisers and umpires are only authorized to determine the Actual Cash Value,
       Replacement Cost, or cost to repair the property that is the subject of the claim. They are
       not authorized to determine coverage, exclusions, conditions, forfeiture provisions,
       conditions precedent, or any other contractual issues that may exist between you and us.
       The appraisal award cannot be used by either you or us in any proceeding concerning
       coverage, exclusions, forfeiture provisions, conditions precedent, or other contractual
       issues. However, once contractual liability is admitted or determined, the appraisal award
       is binding on you and us. This appraisal process and authority granted to appraisers and
       the umpire can only be expanded or modified by written mutual consent signed by you and
       us.
    7. Other Insurance and Service Agreement. If a loss covered by this policy is also
       covered by:
       a. Other insurance, we will pay only the proportion of the loss that the limit of liability
           that applies under this policy bears to the total amount of insurance covering the loss;
           or



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         b. A service agreement, the insurance provided by this policy is excess over any such
             agreement.
             Service agreement means:
             (1) A service plan;
             (2) Property restoration plan
             (3) Home or appliance warranty; or
             (4) Other similar service warranty; even if it is described as insurance.
     8. Suit Against Us. (modified by endorsement)
     ***
     10. Mortgage Clause. (modified by endorsement)
     ***
     15. Policy Period. This policy applies only to loss which occurs during the policy period.
                                                 ***
                           TEXAS AMENDATORY ENDORSEMENT
 Coverage is subject to all terms and conditions of the policy except as changed by this
 endorsement.
 ***
         2. Paragraph 2. “you” and “your” under the Definitions section is replaced by the
 following:
         2. “You” and “your” refer to the named Insured shown in this policy and your spouse
 who resides at the Residence Premises. If the spouse ceases to be a resident of the named
 Insured’s household or household of the sole proprietor, majority shareholder or majority
 member, or general partner during the policy period or prior to the inception of this policy, the
 spouse will be considered you and your under this policy during a period of separation in
 contemplation of divorce and only until the effective date of another policy listing the spouse as a
 named Insured.

    3. Paragraph 4.a. of “Insured” under the Definitions section of form P1405 Personal Home
       policy is replaced by the following:
           a. You and residents of your household who are:
                     (1) Your Relatives.
                     (2) Other persons under the age of twenty-six (26) and in the care of you or
                         your Relative.
                     (3) A civil partner by Civil Union or Registered Domestic Partnership filed
                         and recognized by the state.
                     (4) A Domestic partner.
 ***
     6. The following definitions are added to the Definitions section of this policy:
 ***
 “Relative” means a person related to you by blood, marriage or adoption who is a resident of
 your household.
 ***
 9. For form P1405 Personal Home policy and for form P1406 Personal Condo policy, all
 paragraphs of COVERAGE D – LOSS OF USE of Section I – Property Coverages are replaced
 as follows:



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    1. The limit of liability for this coverage is the total limit of liability for the coverages in a.
    Additional Living Expense, b. Fair Rental Value, and c. Prohibited Use below:
    a. Additional Living Expense. If a covered loss under Section I makes that part of your
    Residence Premises where you reside not fit to live in, we cover the reasonable increase in
    your normal living expenses that is necessary to maintain your household’s usual standard of
    living, including kenneling domestic animals not primarily owned or kept for Business use.
    We cover this increase commencing with the date of loss and ending with the earliest of the
    following:
        (1) The reasonable amount of time required to restore your Residence Premises to a
        habitable condition
        (2) The shortest amount of time required to settle elsewhere if you decide to permanently
        locate;
 ***
    2. You must inform us of your decision regarding whether you intend to repair or replace the
    damage or permanently relocate within six (6) months from the date the loss is reported to us.
    Construction must begin within twelve (12) months from the date of loss. In order for a.
    Additional Living Expense and b. Fair Rental Value to apply, you must comply with these
    timelines unless a later date is agreed to us in writing.

 14. The first paragraph in Exclusion 1. Under Section I – Property Exclusions is replaced by the
 following:
         1. We will not pay for loss resulting directly or indirectly or which ensues from or is a
 result of any of the following. Such loss is excluded regardless of any other cause or event
 contributing concurrently or in any sequence to the loss. These exclusions apply whether or not
 the loss event results in widespread damage or affects a substantial area.
 ***
 16. Exclusion 1.r. Weather, Temperature or Dampness under Section I – Property Exclusions is
 replaced by the following:
         r. Dampness, temperature or humidity. We do not cover any loss caused by dampness,
         change in or extremes of temperature, humidity or dryness of atmosphere, or water vapor.
         This exclusion does not apply to:
         (1) Direct loss by rain, sleet, now or hail; or
         (2) Coverage provided by 16. Refrigerated Property under Section I – Additional Property
         Coverages.
 ***
 19. Paragraph 2. Deductible under the Section I – Property Conditions is replaced by the
 following:
         2. Deductible. Unless otherwise noted in this policy, the following deductible provisions
         apply. With respect to any one loss:
         a. Subject to the applicable limit of liability, we will pay only that part of the total of all
         loss payable that exceeds the deductible amount shown in the Declarations or contained
         within the policy provisions.
         b. If two or more deductibles under this policy apply to the loss, only the highest deductible
         amount will apply.




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        c. Deductibles may be stated as a specific dollar amount or as a percentage of the limit of
        liability for the covered property.
 ***
 20. Paragraph 3. Your Duties after Loss under Section I – Property Conditions is replaced by the
 following:
         3.      Your Duties After Loss.
                 In case of a loss to covered property we have no duty to provide coverage under
                 this policy if the failure to comply with the following duties is prejudicial to us.
                 These duties must be performed either by you, and Insured seeking coverage or a
                 representative of either:
             a. Give prompt notice to us or our agent. . . .
             ***
             d. Protect the property from further damage. If repairs to the property are required,
                 you must:
                 (1) Make reasonable and necessary repairs to protect the property; and
                 (2) Keep an accurate record of repair expenses.
             e. Cooperate with us in the investigation of a claim.
             f. Prepare an inventory of damaged personal property showing the quantity,
                 description, Actual Cash Value and the amount of loss. Attach all bills, receipts
                 and related documents that justify the figures in the inventory.
             g. As often as we reasonably require:
                     (1) Show us the damaged property;
                     (2) Provide us with records and documents we request and permit us to make
                         copies; and
                     (3) Submit to examination under oath, while not in the presence of another
                         insured, and sign the same. A parent or guardian may be present with a
                         minor during any interview or examination.
             h. Send to us, within ninety-one (91) days after our request, your signed, sworn
                 proof of loss on a standard form supplied by us. We must request a signed, sworn
                 proof of loss within fifteen (15) days after we receive your written notice, or we
                 waive our right to require a proof of loss. Such waiver will not waive our other
                 rights under this policy.
             ***
     21. Paragraph 5.c. Loss Payment under Section I – Property Conditions is replaced by the
         following:
         c. We will adjust all losses with you. We will pay you unless some other person is named
         in the policy or is legally entitled to payment.
         ***
     22. Paragraph 5.f. of Loss Payment under Section I – Property Conditions is replaced by the
         following:
         f. Any payment we make for a covered loss for covered property will be reduced by the
         amount paid by any insurer, including us or an affiliated company of ours, for a previous
         loss to the same covered property if you failed to properly repair or replace the covered
         damaged property. We will take the appropriate reduction from any payment due to any




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         subsequent loss for damage to the same covered property, unless you furnish us with proof
         that the prior damage had been fully repaired or replaced. . . .
 23. Paragraph 8. Suit Against Us under Section I – Property Conditions is replaced by the
 following:
         8. Suit Against Us
                 a. Except as provided in Paragraph b. below, no suit or action can be brought against
                 us unless there has been full compliance with all of the terms under Section I of
                 this policy. Action must be brought against us within two (2) years and one (1) day
                 from the date the cause of action first accrues. A cause of action accrues on the date
                 of the initial breach of our contractual duties as alleged in the action.
                 b. With respect to suits brought in connection with claims for loss caused by
                 windstorm or hail . . . .
 24. For form P1405 Personal Home policy and form P1406 Personal Condo policy, Paragraph 10.
 Mortgage Clause under Section I – Property Conditions is replaced by the following:
         10. Mortgage Clause
                 a. We will pay for any covered loss or damage to buildings or structures to the
                 mortgagee shown in the Declarations as interested appear.
                                                  ***
                CRESTBROOK PROTECTION – PERSONAL HOME POLICY
 Coverage is subject to all terms and conditions of the policy, except as changed by this
 endorsement. For an additional premium the following coverages apply:
 ***
         2. The following is added under the Definitions section in respect to this endorsement:
         “Seepage or leakage” means direct physical damage caused by escaping water, steam,
         moisture or vapor, or the presence or condensation of humidity, moisture or vapor. For
         the purposes of this endorsement, a household appliance includes, but is not limited to, a
         freezer, refrigerator, dishwasher, garbage disposal or clothes washing machine.
         ***
         7. The following sentence is removed from paragraph 14. Ordinance or Law under
             Section I – Additional Property Coverages
             The most we will pay for this coverage is one hundred percent (100%) of the
             Coverage A – Dwelling limit of liability shown on the Declarations.
         ***
         12. Paragraph 2.d. of Deductible under Section I – Property Conditions is replaced by
         the following:
                 d. For a covered loss that is equal to or exceeds $50,000, we will waive the
                 Section I Deductible shown in the Declarations.
                 This waiver of deductible does not apply to:
                 (1) Covered property with an applicable Section I deductible greater than
                     $25,000;
                 ***
                 (3) A vacancy deductible;
                 (4) A construction deductible;
                 (5) Any other special or specifically listed deductible shown in the Declarations or
                 contained within the policy provisions; or



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                 (6) Covered losses arising from Seepage or leakage caused by a leak, break,
                 overflow or discharge from a plumbing, heating or air conditioning system, or a
                 household appliance.

        33.      The assertion of any specific provision of the Policy in this Answer is not intended

  as a waiver or abandonment of other applicable provisions of the Policy. The Policy in its entirety

  is asserted and incorporated herein by reference.

                                           Second Defense
                                          No Breach of Policy

        34.      Plaintiffs’ claim has been properly investigated, adjusted, and evaluated. There has

 been no breach of the Policy, thereby precluding recovery of damages pursuant to any contractual

 and extra-contractual theory of liability, including but not limited to violation(s) of the Texas

 Insurance Code and Texas Deceptive Trade Practices Act.

                                            Third Defense
                                   Failure of Conditions Precedent

        35.      Plaintiffs have failed to comply with one or more provisions of the Policy and,

 therefore, are precluded from bringing suit to enforce the Policy. The Policy expressly states:

        [N]o suit or action can be brought against us unless there has been full compliance
        with all of the terms under Section I of this policy. Action must be brought against
        us within two (2) years and one (1) day from the date the cause of action first
        accrues. A cause of action accrues on the date of the initial breach of our contractual
        duties as alleged in the action.

        36.      Plaintiffs in this instance have failed to fulfill their duties after a loss as required by

 the Policy, including but not limited to the following duties:

              a. Give prompt notice to us or our agent. . . .
              ***
              d. Protect the property from further damage. If repairs to the property are required,
                  you must:
                  (1) Make reasonable and necessary repairs to protect the property; and
                  (2) Keep an accurate record of repair expenses.
              e. Cooperate with us in the investigation of a claim.



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              ***
              g. As often as we reasonably require:
                  (1) Show us the damaged property;
                  (2) Provide us with records and documents we request and permit us to make
                  copies;
        ***

        37.      Accordingly, because Plaintiffs have not met all conditions precedent to filing this

 lawsuit, Plaintiffs are contractually precluded from bringing suit against Crestbrook.

                                          Fourth Defense
                                 Failure to Mitigate/Contribution

        38.      Plaintiffs are barred from any recovery from Crestbrook, in whole or in part, due to

 Plaintiffs’ own fault, acts and/or omissions, negligence, breach of duty, failure to mitigate the

 alleged damages, contribution to their own alleged damages, and/or breach of contract or that of

 their agents, representatives, or employees. This includes, but is not limited to, Plaintiffs’ failure

 to properly maintain and repair the Property’s shower pans and tile flooring.

                                         Fifth Defense
                     Lack of Coverage Precludes Extra-Contractual Liability

        39.      The existence of coverage for an insurance claim is necessary to establish the basis

 of claims for violations of the Texas Insurance Code and claims for violations of the Texas

 Deceptive Trade Practices Act predicted on the alleged breach of an insurance contract. Because

 Plaintiffs’ allegations are generally based upon Crestbrook’s alleged failure to timely pay policy

 benefits, the absence of coverage for the allegedly unpaid amounts of the underlying insurance

 claim precludes Plaintiffs’ extra-contractual claims against Crestbrook as a matter of law.

                                           Sixth Defense
                                     Loss Settlement Provisions

        40.      Crestbrook relies on the loss settlement provisions set forth in the relevant

 insurance policy limiting loss payments as set forth in the Policy.



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                                          Seventh Defense
                                         Limits of Liability

        41.     Any recovery by Plaintiffs is subject to the applicable limits set forth in the relevant

 insurance policy. Additionally, Plaintiffs may not recover more than their financial interest in the

 Property as provided in the relevant policy’s Section I Property Conditions.

                                           Eighth Defense
                                             Deductible

        42.     To the extent any damage to the covered property is determined by the factfinder

 to be the result of a covered peril as alleged in Plaintiffs’ First Amended Complaint, which is

 denied, Plaintiffs’ recovery is subject to the Policy’s $5,000 All Peril deductible as shown in the

 Declarations of the Policy.

                                         Ninth Defense
                                Due Process and Equal Protection

        43.     To the extent Plaintiffs seek punitive damages, Crestbrook invokes its right under

 the Due Process Clauses of the Fifth and Fourteenth Amendments to the United States

 Constitution. Crestbrook affirmatively pleads that Plaintiffs’ pleading of punitive and/or

 exemplary damages violates the due process clauses of the Fifth and Fourteenth Amendments.

        44.     To the extent Plaintiffs seek punitive damages, Crestbrook asserts that such request

 should be denied because it violates the equal protection rights guaranteed by the Fifth and

 Fourteenth Amendments to the United States Constitution, the provisions of the Eighth

 Amendment to the United States Constitution, and the Constitution of the State of Texas, Article

 I, Sections 13 and 19.

                                         Tenth Defense
                           Statutory Limitations for Punitive Damages

        45.     With regard to Plaintiffs’ claims for exemplary/punitive damages, Chapter 41 of



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 the Texas Civil Practice & Remedies Code limits any award of such damages to the greater of:

        (1)(A) two times the amount of economic damages; plus
        (1)(B) an amount equal to any non-economic damages found by the jury, not to
               exceed $750,000; or
        (2)    $200,000.

        TEX. CIV. PRAC. & REM. CODE ANN. § 41.008(b)(1)–(2).

        46.     Crestbrook further asserts entitlement to and application of the mandates and limits

 set forth in Texas Civil Practice & Remedies Code §§ 41.001–014 with regard to any award of

 exemplary/punitive damages in this case.

                                        Eleventh Defense
                                   Non-Segregation of Damages

        47.     To the extent any damage to the insured property is determined by the factfinder to

 be the result of a covered peril as alleged in Plaintiffs’ First Amended Complaint, which is denied,

 Crestbrook asserts that Plaintiffs have failed to segregate damages resulting from covered causes

 of loss from damages resulting from causes of loss excluded under the Policy.

                                          Twelfth Defense
                                         Bona Fide Dispute

        48.     A bona fide controversy existed and continues to exist concerning Plaintiffs’

 entitlement to insurance benefits from Crestbrook. Under Texas law, Plaintiffs carry the burden to

 establish that Crestbrook unreasonably denied or delayed payment of an insurance claim when

 liability became reasonably clear. At all times material to this lawsuit, Crestbrook had a reasonable

 basis for its conduct based upon the claim investigation. Moreover, Crestbrook would show that a

 bona fide controversy existed and that liability under the Policy, if any, was not reasonably clear

 and remains so to date. In other words, nothing more than a bona fide coverage dispute exists




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 between the parties, which does not permit Plaintiffs to recover extracontractual damages in this

 case.

                                         Thirteenth Defense
                                         Excessive Demand

         49.    Crestbrook asserts that Plaintiffs are not entitled to attorney’s fees because

 Plaintiffs have asserted an excessive demand. Plaintiffs have acted unreasonably and in bad faith

 by demanding monies to which they are not entitled under the Policy, thereby making the demand

 unreasonable and, consequently, excessive.

                                        Fourteenth Defense
                                   Tolling of Statutory Penalties

         50.    Plaintiffs’ own delays, actions, and omissions in presenting the claim at issue in

 this lawsuit should not inure to Plaintiffs’ financial benefit. While Crestbrook denies liability under

 Chapter 542 of the Texas Insurance Code, if upon final hearing and trial, the fact finder determines

 that there has been one or more violations of this statute, then Crestrbook urges the Court to

 determine that all penalties during any delays attributable to Plaintiffs should be tolled.

 Additionally, under equitable principles, Plaintiffs have waived, forfeited, or are estopped from

 asserting and has otherwise relinquished entitlement to the penalty provided for under Chapter 542

 of the Texas Insurance Code, as well as any other delay-based or time-based penalty of interest

 because of Plaintiffs’ own discretionary delays and inaction in pursuing relief in accordance with

 the terms of the Policy.

                                             Fifteenth Defense
                                        Proportionate Responsibility

         51.    Crestbrook has denied and continues to deny the allegations raised by Plaintiffs in

 this lawsuit. However, to the extent that Crestbrook is found liable to Plaintiffs for damages,




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 Crestbrook asserts that Plaintiffs are proportionately responsible for such damages, and that

 Plaintiffs are barred from recovering such damages pursuant to Texas Civil Practice & Remedies

 Code §§ 33.001–.002.

         52.     Additionally, Crestbrook asserts that Plaintiffs’ recovery, if any, must be limited or

 reduced pursuant to Texas Civil Practice & Remedies Code § 33.012. Crestbrook further asserts

 that the amount of its liability, if any, is limited by Texas Civil Practice & Remedies Code § 33.013.

                                           Sixteenth Defense
                       Attorney’s Fees Not Recoverable, Reasonable, or Necessary

         53.     “In Texas, an attorney acting pro se cannot recover attorney’s fees because those

 fees are not “‘incurred.’” In re Marriage of Pratz, No. 12-20-00187-CV, 2021 WL 6061779, 2021

 Tex. App. LEXIS 10076, at *21 (Tex. App.—Tyler Dec. 21, 2021, pet. denied) (citing Jackson v.

 State Office of Admin. Hearings, 351 S.W.3d 290, 299-300 (Tex. 2011)). Plaintiff David J. Potter,

 II is appearing in this lawsuit pro se. Plaintiffs’ claim for attorney’s fees should therefore be denied.

         54.     Plaintiffs’ claim for attorney’s fees should likewise be denied because any

 attorney’s fees claimed by Plaintiffs are not reasonable or necessary. Plaintiffs’ claim has been

 properly investigated, adjusted, and evaluated, yet Plaintiffs nonetheless opted to file a lawsuit,

 thereby litigating unreasonably and unnecessarily.

                                           III.    PRAYER

         WHEREFORE, PREMISES CONSIDERED, Defendant Crestbrook Insurance Company

 respectfully prays that Plaintiffs take nothing, that Crestbrook be awarded its reasonable and

 necessary attorneys’ fees and costs, and for all such other and further relief to which Crestbrook

 may be justly entitled.

                                     [signature on following page]




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                                                Respectfully submitted,

                                                /s/ Patrick M. Kemp
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                                                (512) 476-7834
                                                (512) 476-7832 – Facsimile

                                                ATTORNEYS FOR DEFENDANT
                                                CRESTBROOK INSURANCE COMPANY



                                  CERTIFICATE OF SERVICE
         This is to certify that a true and correct copy of the foregoing instrument has been served as
 indicated below on this the 12th day of December, 2023 to:

        David J. Potter                                                                Via CM/ECF
        David J. Potter and Associates
        901 N. Stateline Ave.
        Texarkana, Texas 75501-5268
        dpotter@potter-law.com

        Shorty Barrett                                                           Via Certified Mail
        722 E 6th Street                                              9414 7266 9904 2178 2266 52
        Texarkana, Arkansas 71854

                                                /s/ Patrick M. Kemp
                                                Patrick M. Kemp




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